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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CELSA ROMERO RAMIRES,

              Plaintiff,
       v.                                                         No. 20-cv-203 KWR/SMV

CHAD WOLF, U.S. Secretary of Homeland
Security; KENNETH T. CUCCINELLI,
Acting Director of U.S. Citizenship and
Immigration Services; U.S. CITIZENSHIP
AND IMMIGRATION SERVICES, an
agency of the United States; MICHAEL
PAUL, Director of the United States
Citizenship and Immigration Services
Vermont Service Center; WILLIAM P.
BARR, U.S. Attorney General;
CHRISTOPHER WRAY, Director of Federal
Bureau of Investigations; and the FEDERAL
BUREAU OF INVESTIGATIONS; in their
official capacities,

              Defendants.

        ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR
     EXTENSION OF TIME TO ANSWER PLAINTIFF’S COMPLAINT (DOC. 16)

       This matter comes before the Court on Defendants’ Unopposed Motion for Extension of

Time to Answer Plaintiff’s Complaint for Writ of Mandamus and Declaratory Judgment (Doc.

16). Defendants request an additional 60 days.

       The Court has reviewed the Motion and finds that it should be granted.

       IT IS HEREBY ORDERED that the deadline for Defendants to file an Answer or

respond to Plaintiff’s Complaint is extended from November 3, 2020 to January 4, 2021.


                                            THE HONORABLE STEPHAN M. VIDMAR
                                            United States Magistrate Judge
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SUBMITTED AND APPROVED BY:


Electronically submitted 11/2/2020
Tiffany Walters
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Counsel for Defendants


Electronically approved 10/30/2020
Heather Kryzak
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